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                          U M TED STA TE S D ISTR IC T C O U R T
                                              Southern D istrictofFlprida
                                                       M iam iD ivision


IJNITED STATàS(j:-AMERICA                                      JUD GM EN T IN A CR IM INA L CA SE
                     V.
 PAB LO A M EZCU A D O R AD O R                                Case N um ber:19-cr-20562-W iIIiam s
                                                               U SM Num ber:18332-104

                                                               CounselForD efendant:D avid M ichaelG arvin
                                                               CounselForTheUnited States:DanielM arcet
                                                    Cot!rtReporter:Patrieia Sanders
The defendantpleaded guilty to C ount1 ofthe indictm ent.
                                                           '
                                                           .


Thedefendantisadjudicatedguiltyoftheseoffenses:
TITLE & SECTION          NATURE OF OFFENSE                                                   OF/ENSE          COUNT
                                                                                             EN DED
 18U.S.C.1956(h)         Conspirâcyto.engagein money laundering.         08/22/2019 .1
                                                                                  '
                                                                                  '
                                                   ,

Thedefendantissentenced asprovidedinths'followingpagesofthisjudgment.Thesentenceisimposedpursuant
to the Sentencing Reform A ctof 1984.
A llrem aining counts are dism issed on the m otion ofthe governm ent.
Itisordered thatthedefendantmustnotifytheUnited Statesattorney forthisdistrictwithin 30 daysofany change
ofname,residence,orm ailing addressuntilal1fines,restitution,costs,and specialassessmentsimposed by this
judgmentarefullypaid.lforderedtopayrestitution,thedefendantmustnotifythecourtandUnitedStatesattorney
ofm aterialchangesin econom ic circtlm stances.




                                                               D ate oflm position of Sentence:8/25/2020




                                                               K athleen .W illiam s
                                                               U nited St tesD istrictJudge


                                                               Date:       e          >
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USDCFLSD 2458(Rev.09/08)-JudgmentinaCri
                                      minalCase                                                        Vge2of6

DEFENDANT:Pablo Am ezcug Dorador
CASE NUM BER:19-cr-20562-W illiam s

                                                    IM PRISO N M EN T

The defendantishereby comm itted to the custody oftheUnited StatesBureau ofPrisonsto be im prisoned fora
totalterm of130 m onths.
The court m akesthe follow ing recom m endations to the Bureau ofPrisons:
TheDefendantbedesignatedzto ClM cRaeHelena,GA.
The defendant is rem anded to the custody ofthe U nited StatesM arshal.

                                                        R ETU RN
1haveexecutedthisjudgmentasfollows:




Defendantdelivered on                                              -   to                          '

at                ''                              ,with ace/ifiedcopyofthisjudgment.
                                     f'




                                                            UN ITED STATES M ARSHAL



                                                            D EPUTY U N ITED STA TES M A R SHA L
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.       1F
    L. .. J
         2. JJ
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                   -72-    Rev.09/08)-JudgmentinaCri
                                                   minalCase                             .   ''7         LLL...Tqz?
                                                                                                        ..        X   PAge3of6..




DEFEN D AN T:Pablo A m ezcua D orador
CASE NUM BER:19-cr-20562-W illiam s

                                                               SU PER V ISED R ELEA SE

Upon release from im prisonm ent,the defendantshallbe on supervised release fora tenn of3 years.
Thedefendantmustreportto theprobation office in thedistrictto which the defendantisreleased within 72 hoursofrelease
from the custody oftheBureau ofPrisons.
Thedefendantshallnotcomm itanotherfederal,stateorlocalcrim e.
The defendantshallnotunlawfully possess a controlled substance.The defendantshallrefrain from any unlaw fuluse ofa
controlled substance.The defendantshallsubm itto one drug testw ithin 15 days ofrelease from imprisonm entand atleast
two periodicdrug teststhereafter,asdeterm ined by thecourt.
Thedefendantshallcooperatein the collection ofDNA asdirected by theprobation offcer.
Thedefendantshallnotpossessa firearm ,am m unition,destructive device,or any other dangerousw eapon.

lfthisjudgmentimposesafineorrestitution,itisacondition ofsupervisedreleasethatthedefendantpay inaccordancewith
theScheduleofPaymentssheetofthisjudgment.
The defendantm ustcomply w ith thestandard conditionsthathavebeen adopted by this courtaswellaswith any additional
conditionson the attached page.
                                             ST AN DA R D CO N D ITIO N S O F SU PER V ISIO N
           Thedefendantshallnotleavethejudicialdistrictwithoutthepennissionofthecourtorprobationofficer;
        Thedefendantshallreporttotheprobation officerand shallsubm itatruthfuland com pletewritten reportw ithinthefirstfifteen
        daysofeachm onth;
        Thedefendantshallanswertruthfully a1linquiriesby theprobation ofticerand follow theinstructionsoftheprobationoffker;
        Thedefendantshallsupporthisorherdependentsandmeetotherfamily responsibilities;
        Thedefendantshallworkregularly atalawfuloccupation,unlessexcused by theprobationofticerforschooling,training,or
        otheracceptablereasons;
     6. Thedefendantshallnotify theprobationofficeratleasttendayspriorto any changein residence oremploym ent;
     7. Thedefendantshallregain9om excessiveuseofalcoholand shallnotpurchase,possess,use,distribute,oradministerany
        controlled substanceorany paraphemaliarelated toany controlled substances,exceptasprescribed by aphysician;
     8. Thedefendantshallnotfrequentplaceswherecontrolled substancesareillegally sold,used,distributed,oradm inistered;
     9. Thedefendantshallnotassociatewith any personsengagedin criminalactivity and shallnotassociatewith any person
        convictedofafelony,unlessgrantedpermissiontodoso bytheprobation officer;
     10.Thedefendantshallperm itaprobation officerto visithim orheratany tim cathom eorelsewhereand shallperm itconfiscation
        ofanycontrabandobserved inplain view oftheprobation officer;
        Thedefendantshallnotifytheprobation officerw ithin seventy-two hoursofbeingarrestedorquestionedby a1aw enforcem ent
        officer;
     l2.Thedefendantshallnotenterinto any agreementtoactasan infonneroraspecialagentofalaw enforcementagencywithout
        the pennission ofthe court;and
     13.Asdirected by theprobation oftscer,thedefendantshallnotify thirdpartiesofrisksthatm ay beoccasionedby thedefendant's
        crim inalrecordorpersonalhistory orcharacteristicsandshallperm ittheprobation officerto m akesuch notificationsandto
        confinn thedefendant'scompliancewithsuch notification requirement.
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DEFENDANT:Pablo Am ezcuaD orador
CA SE N UM BER :19-cr-20562-W illiam s

                                       SPEC IA L CO N DITIO N S O F SU PER VISIO N

Surrendering to lm migration forRem ovalAfterImprisonment-Atthe completion ofthe defendant'sterm of
imprisonm ent,thedefendantshallbe surrendered to thecustody oftheU.S.lm migration and Custom s
EnforcementforremovalproceedingsconsistentwiththeImmigrationandNationalityAct.Ifremoved,the
defendantshallnotreenterthe United Statesw ithoutthe priorw ritten perm ission ofthe Undersecretary for
Borderand Transportation Security.Thetenu ofsupervised releaseshallbenon-repoding whilethedefendantis
residing outsidetheUnited States.IfthedefendantreenterstheUnited Stateswithin theterm ofsupervised .
release,thedefendantisto repol'tto thenearestU.S.Probation Officewithin 72 hoursofthedefendN t'sarrival.

Unpaid Restitution,Fines,orSpecialAssessm ents-Ifthedefendanthasany lmpaid am ountofrestitution,fnes,
orspecialassessm ents,the defendantshallnotify theprobation officerofany m aterialchange in the defendant's
econom ic circum stances thatm ightaffectthe defendant's ability to pay.
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    DEFEN D AN T:Pablo A m ezcua D orador
    CASE NUM BER:19-cr-20562-W illiam s

                                               CR IM IN AL M O N ETA RY PEN A LTIES

    The defendantm ustpay thetotalcriminalm onetary penaltiesunderthe schedule ofpaym entson Sheet6.
                                     A ssessm ent                  Fine                   Restitm ion
               TOTALS                              $100.00                $0.00                    $0.00
    Ifthe defendantm akes a partialpaym ent,each payee shallreceive an approxim ately proportioned paym ent,
    unlessspecified otherwise in the priority order or pércentage paym entcolum n below .H ow ever,pursuantto
    18U.S.C.j366441),allnonfederalvictimsmustbepaid beforetheUnitedStatesispaid.
    NA M E O F PA Y EE                                           TO TAL L O SSA       RE STITU TIO N O RD ER ED
    # Findingsforthetotalamountoflossçsare required underChapters 109A,110,1IOA,and 113A ofTitle 18 for
.
    offensescom mitted on orafterSeptember13,1994,butbeforeApril23,1996.
    **Assessm entdueimm ediately unlessotherwiseordered by the Cotlrt.
             Case 1:19-cr-20562-KMW Document 82 Entered on FLSD Docket 08/26/2020 Page 6 of 6
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        DEFENDANT:PabloAm ezcuà Dorador
        CA SE NUM BER:19-cr-20562-W illiam s

                                                             SC H ED ULE O F PA Y M EN TS
                     %
        Having assessedthedefendant'sability to pay,paymentofthetotalcrim inalmonetary penyltiesisdueasfollows:
        A.Lum p sum paym entof$100.00 dueim m ediately.

        Unlessthe courthasexpressly ordered otherwise,ifthisjudgmentimposesimprisonment,paymentofcriminal
i
'       m onetary penalties is due during im prisonment.A11criminalmonetary penalties,exceptthose paym ents made
!
I       through theFederalBureau ofPrisons'lnm ateFinancialResponsibilityProgram ,arem adetotheclerk ofthecourt.
!

        The defendant shall receive credit for all paym ents previously m ade tow ard any crim inal m onetary penalties
        im posed.
        Thisassessment/fine/restitution ispayabletotheCLERK,UNITED STATES COURTS and isto be addressed to:
        U .S.CLER K 'S O FFICE
        A TTN :FIN AN CIAL SEC TIO N
        400 N O R TH M IAM IA V EN UE ,R O O M 08N 09
        M IAM I,FLO R ID A 33128-7716
        Theassessm ent/fine/restitution iqpayableimm ediately.TheU.S.Bureau ofPrisons,U .S.Probation Officeand the
        U.S.Attorney'sOfficeareresponsible fortheenforcem entofthisorder.

        DefendantandCo-DefendantNamesand CaseNumbers(including defendantnumber),TotalAmount Jointand
        SeveralAm ount,and corresponding payee,if appropriate.
        CA SE N U M BER                                                                           JO INT A N D SEV ER AL
        D EFEN DA N T AN D C O .DEFEND A NT N A M ES                            TO TA L AM O UN T A M O UN T
        (INCLUDING DEFENDANT NUM BER)
        The G overnm entshallfile a prelim inary order offorfeiture w ithin 10 days.
        Paymentsshallbeappliedinthefollowingorder:(1)assessment,(2)restitutionprincipal,(3)restitutioninterest,
        (4)fineprincipal,(5)fineinterest,(6)communityrejtitution,(7)penalties,and(8)costs,includingcostof
        prosecution and courtcosts.
